4:15-cr-03101-RGK-CRZ                 Doc # 78    Filed: 02/25/16        Page 1 of 1 - Page ID # 146



                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                        Plaintiffs,                                          4:15CR3101

       vs.
                                                                               ORDER
JOSE GONZALEZ-LEGARDA, YUNIOR
FLORES-VELIZ, NORMA RODRIGUEZ-
ALVARADO, AND MARLIUVYS PRADO-
MARTINEZ,

                        Defendants.


        Defendant Gonzalez-Legarda has moved to continue the trial and pretrial motion deadlines,
(filing nos. 75 & 76), because the defendant has new counsel who needs additional time review this case
and confer with the defendant before deciding if pretrial motions should be filed. The motion to continue
is unopposed. Based on the showing set forth in the motion, the court finds the motion should be granted.
Accordingly,

        IT IS ORDERED:

        1)      Defendant’s motions to continue, (filing nos. 75 & 76), are granted.

        2)      As to all defendants, pretrial motions and briefs shall be filed on or before April 25,
                2016.

        3)      As to all defendants, trial of this case is continued pending resolution of any pretrial
                motions filed.

        4)      The ends of justice served by granting the motion to continue outweigh the interests of
                the public and the defendant in a speedy trial, and as to all defendants, the additional time
                arising as a result of the granting of the motion, the time between today’s date and April
                25, 2016, shall be deemed excludable time in any computation of time under the
                requirements of the Speedy Trial Act, because despite counsel’s due diligence, additional
                time is needed to adequately prepare this case for trial and failing to grant additional time
                might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).

        Dated this 25th day of February, 2016

                                                          BY THE COURT:

                                                          s/ Cheryl R. Zwart
                                                          United States Magistrate Judge
